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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   WEST PALM BEACH DIVISION
                             Case No. 9:18–CV–81147–BLOOM–REINHART

      UNITED STATES OF AMERICA,                        )
                                                       )
               Plaintiff,                              )
                                                       )
               v.                                      )
                                                       )
      ISAC SCHWARZBAUM,                                )
                                                       )
               Defendant.                              )
                                                       )

                      REPLY IN SUPPORT OF MOTION TO RETAIN
               JURISDICTION FILED BY THE UNITED STATES OF AMERICA

          The United States files this reply in support of its Motion to Retain Jurisdiction (ECF No.

  136) and in response to the opposition filed by Defendant Isac Schwarzbaum (ECF No. 141).

 I.       The Eleventh Circuit held that remand to the IRS is not futile and the six-year
          statute of limitations is inapplicable to the IRS’s recalculation of penalties.

          This Court found, and the Eleventh Circuit affirmed, that Schwarzbaum willfully violated

  his FBAR reporting obligations for calendar years 2007, 2008, and 2009 by failing to timely

  disclose his interest in several foreign bank accounts. Although the Eleventh Circuit held that the

  IRS miscalculated the FBAR penalties, the Court rejected Schwarzbaum’s argument that a

  remand to the IRS would be futile under the six-year statute of limitations on FBAR assessments

  (31 U.S.C. § 5321(b)(1)). Instead, the Eleventh Circuit instructed this Court to remand the case

  to the IRS for the limited purpose of recalculating the penalties. United States v. Schwarzbaum,

  24 F.4th 1355, 1367 (11th Cir. 2022) (“The remand we now direct is not for the IRS to issue new

  penalties, but for it to recalculate the penalties it has already assessed.”).

          Undeterred, Schwarzbaum ignores the plain language of the Eleventh Circuit decision,

  claiming that the decision was “unfavorable” to the United States. ECF No. 141 at 1. He goes so
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  far as to argue that “the Eleventh Circuit did not rule that the statute of limitations was

  inapplicable” and “the issue of whether the statute of limitations precludes another assessment

  was not yet ripe because the IRS has yet to assess a legitimate FBAR penalty for Mr.

  Schwarzbaum to assert such a defense.” ECF No. 141 at 3, n.3.

         Schwarzbaum is wrong. The Eleventh Circuit needed to determine if remand was a viable

  remedy. To do so, that court had to consider whether the statute of limitations prevented the IRS

  from recalculating the FBAR penalties. Otherwise, remand would be futile and the Eleventh

  Circuit would not have ordered it. In fact, the Eleventh Circuit determined that remand was not

  futile, reasoning that because the original assessments were timely, the statute of limitations on

  new assessments did not apply. The Court expressly stated that it was not directing the IRS to

  assess new penalties on remand and instead remand would be limited recalculating the penalties

  already assessed. Schwarzbaum, at 1366-67. Schwarzbaum’s opposition is based on a misreading

  of the Eleventh Circuit’s opinion and the Court should ignore his ill-founded arguments.

  II.    This Court has the discretion to retain jurisdiction over this case pending remand to
         the IRS.

         Although Schwarzbaum baldly argues that this Court lacks authority to retain jurisdiction

  over this case, Eleventh Circuit precedent refutes it. Druid Hills Civic Ass’n, Inc. v. Fed.

  Highway Admin., 833 F.2d 1545, 1548 (11th Cir. 1987) (“Because this circuit considers a

  remand order an interlocutory order, it follows by operation of law that the district court retains

  jurisdiction of the case until the proceedings on remand have been concluded. To terminate its

  jurisdiction, the district court must subsequently enter a dispositive order of some sort.”)

  (quoting authority omitted). It is well-established that a district court has the discretion to retain

  jurisdiction over a case while it is remanded to an administrative agency. Ctr. for Biological

  Diversity v. U.S. Army Corps of Eng’rs, No. 20-103, 2021 WL 14929, at *2 (D.D.C. Jan. 1,

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  2021) (“When a challenge to an agency proceeding is on remand, the Court has discretion to

  retain jurisdiction over the case or to dismiss the action without prejudice.”) (citing Cobell v.

  Norton, 240 F.3d 1081, 1108-09 (D.C. Cir. 2001) (collecting cases in which courts have decided

  to retain jurisdiction during remands and referring to such relief as within “a district court's

  equitable powers”)). Schwarzbaum fails to confront (or even mention) why the Court should

  ignore controlling circuit law on this point, and instead relies on cases from other jurisdictions

  that are factually distinguishable.

          Remand and retention of jurisdiction implements the Eleventh Circuit’s opinion by

  directing the IRS to recalculate the FBAR penalties and, upon recalculation, allowing the United

  States to move for entry of judgment in the amount of the recalculated penalties. Once the United

  States moves for entry of judgment, Schwarzbaum will have the opportunity raise any issue he

  has with the recalculation under the APA. See Env’t Law & Policy Ctr. v. United States Env’t

  Prot. Agency, No. 17-01514, 2018 WL 1740146, at *12 n.15 (N.D. Ohio Apr. 11, 2018) (“I

  consider remand and retention of jurisdiction to be appropriate so that I can undertake judicial

  review under the APA, if needed, following whatever action the U.S. EPA takes.”).

  Schwarzbaum identifies no valid reason why this Court should decline to retain jurisdiction over

  this case.

          Instead, Schwarzbaum contends that retaining jurisdiction would allow the IRS to make

  repeated “illegal penalty assessments.” ECF No. 141 at 8. That contention ignores the reality of

  this case. Schwarzbaum never objected to the IRS’s FBAR penalty calculations at the

  administrative level or at any point before this Court issued its findings of fact and conclusions

  of law. At that time, this Court determined sua sponte that the IRS abused its discretion when it

  used the highest annual account balances, instead of the June 30th balances, to calculate the



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  maximum statutory penalties. There has been no allegation, let alone evidence, that the IRS’s

  penalty calculation was done in bad faith or otherwise done to obtain an assessment higher than

  what was permitted by law. Indeed, if the IRS had calculated the FBAR penalties based solely on

  the June 30th balance (or $100,000 per account where the June 30th balance was unknown), the

  penalties would have been higher than what the IRS assessed. ECF No. 93 at 4-10. That is likely

  the reason Schwarzbaum never objected to the IRS’s penalty calculation. In any event, the

  Eleventh Circuit’s decision provides guidance to the IRS as to the statutory parameters for

  recalculating the penalties.

         Perhaps recognizing the statute of limitations does not prevent the IRS from recalculating

  the penalties, Schwarzbaum intends to employ a different, albeit equally spurious, strategy. If

  this Court were to decline to retain jurisdiction, Schwarzbaum will likely assert that the

  Government is time-barred from bringing a new suit to collect the recalculated penalties. See

  31 U.S.C. § 5321(b)(2)(A) (collection action must be brought within two years after assessment).

  That argument directly contradicts the Eleventh Circuit decision, which recognized that

  Schwarzbaum was not entitled to a judgment in his favor and that the IRS had a right to

  recalculate the FBAR penalties. If this Court were to adopt Schwarzbaum’s argument, it would

  encourage accountholders to:

        remain silent during the administrative process about any perceived calculation errors;

        raise them for the first time in court; and

        wait out the two-year limitations period while the judicial process runs its course.

  Neither Congress nor the Eleventh Circuit could have intended to allow such gamesmanship.




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  III.   Expressly retaining jurisdiction over this case provides certainty for the parties as to
         the procedure going forward.

         Schwarzbaum cites the recent decisions in United States v. Kerr, No. 19-cv-05432 (D.

  Ariz. Mar. 29, 2022) and United States v. Hughes, No. 18-cv-05931 (N.D. Cal. Mar. 29, 2022) as

  support for his contention that the district courts did not retain jurisdiction over the cases when

  they were remanded to the IRS. See ECF No. 141 at 6. Putting aside the fact that Kerr and

  Hughes are not final, non-appealable orders and the time for filing a Rule 59 or Rule 60 motion

  has not yet run, neither court addressed the procedure for how the parties should move forward

  once the IRS recalculates the penalties on remand. The courts likely intended for the United

  States to move to reopen the case once the IRS concluded its calculations on remand. Otherwise,

  it would be futile to remand the case to the IRS if the statute of limitations barred the United

  States from bringing a new collection lawsuit against those defendants.

         The United States seeks to make express what is implied in Kerr and Hughes. Rather than

  assume that this Court would retain jurisdiction or otherwise entertain a motion to reopen the

  case after the IRS recalculates the penalties, the United States asks this Court to enter an order

  expressly retaining jurisdiction pending remand to the IRS. A retention of jurisdiction by the

  Court maintains the status quo, vindicates the Eleventh Circuit’s judgment, and does not

  undermine the expectations of either party.

  IV.    Schwarzbaum’s reliance on APA cases filed by a party challenging agency action is
         misplaced.

         Even though Schwarzbaum repeatedly argues that this Court lacks the authority to retain

  jurisdiction over this case, he recognizes that courts may exercise discretion to retain jurisdiction

  in certain cases. ECF No. 141 at 7. Schwarzbaum argues that it is only the “extraordinary” APA

  case involving a need to compel agency action where courts have retained jurisdiction. Id.



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  Schwarzbaum overlooks the fact that this case is not a typical APA case. As the United States

  noted in its moving papers, APA cases often involve a party challenging government agency

  action and typically the plaintiff is requesting that a court set that action aside. The challenger

  prevails when the court sets aside the agency action and remands the case to the agency. In such

  cases, courts generally do not retain jurisdiction during remand because once the action is set

  aside there is nothing left to review. Any post-remand proceeding would essentially start from

  scratch and focus on the action the agency took on remand. See, e.g., Ctr. for Biological

  Diversity, 2021 WL 14929, at *2 (“In short, even were this Court to retain jurisdiction, the case

  would likely need to start from scratch with a new final agency action, a new complaint, and a

  new administrative record. Although portions of the old and new case might well overlap, the

  initiation of a new proceeding would avoid confusion regarding the issues properly before the

  Court.”). None of the cases cited by Schwarzbaum pose the same statute of limitations

  implications that are present here, their logic is unavailing from a commonsense standpoint, and

  the facts undergirding their holdings are not on all fours with the facts here. As the United States

  noted, the proper persuasive holdings are those APA cases where there was a remand for the

  recalculation of some monetary amount by the agency, with the district court retaining

  jurisdiction in the interim so that final judgment or other proceedings could continue once the

  remand was complete.

         Here, the remand is limited to the narrow issue of recalculation of the FBAR penalties

  consistent with the Eleventh Circuit decision. The IRS has not been instructed to develop a new

  administrative record or conduct a new willfulness analysis. Unlike in the typical APA case

  brought by a challenger to agency action, the United States brought a common-law action to

  reduce a liability to judgment. There is an outstanding question, not about whether Schwarzbaum



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  must pay, but rather about how much Schwarzbaum must pay. Unlike an APA case in which the

  parties’ claims are resolved when the court either upholds or sets aside the agency action with a

  remand, this case is not resolved until the Court enters a monetary judgment. As recognized by

  the Eleventh Circuit, Schwarzbaum is not entitled to entry of judgment in his favor, and further

  proceedings in this case after the remand concludes was clearly contemplated by the Court of

  Appeals. It is too early for this Court to enter judgment for the United States because the amount

  remains to be determined. The United States requests that this Court retain jurisdiction over this

  case so that it can enter a judgment resolving the parties’ claims and defenses after the IRS

  recalculates the penalties on remand.

  Dated: April 7, 2022                          Respectfully submitted,

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